Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 1 of 42




                                    3:20-cv-785-DPJ-FKB
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 2 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 3 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 4 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 5 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 6 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 7 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 8 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 9 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 10 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 11 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 12 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 13 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 14 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 15 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 16 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 17 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 18 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 19 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 20 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 21 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 22 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 23 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 24 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 25 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 26 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 27 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 28 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 29 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 30 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 31 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 32 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 33 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 34 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 35 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 36 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 37 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 38 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 39 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 40 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 41 of 42
Case 3:20-cv-00785-DPJ-ASH   Document 1   Filed 12/07/20   Page 42 of 42
